August 31, 2007


Ms. Marie R. Yeates
Vinson &amp; Elkins L.L.P.
1001 Fannin Street, Suite 2300
Houston, TX 77002-6760
Mr. Rance L. Craft
Office of the Attorney General
P.O. Box 12548 (MC 059)
Austin, TX 78711-2548

RE:   Case Number:  05-0372
      Court of Appeals Number:  03-03-00770-CV
      Trial Court Number:  GN-203154

Style:      EL PASO HOSPITAL DISTRICT D/B/A R.E. THOMASON GENERAL HOSPITAL
      DISTRICT, ET AL.
      v.
      TEXAS HEALTH AND HUMAN SERVICES COMMISSION AND DON GILBERT,
      COMMISSIONER

Dear Counsel:

      Today the Supreme Court of Texas delivered the  enclosed  opinion  and
judgment in the above-referenced cause.


                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. Amalia               |
|   |Rodriguez-Mendoza        |
|   |Mr. Jeffrey D. Kyle      |

